Case 0:18-cv-61984-FAM Document 61 Entered on FLSD Docket 02/25/2019 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-61984-CIV-MORENO/SELTZER

  POLLY BASSETT,

         Plaintiff ,

  vs.

  WAL-MART STORES EAST, L.P.,

       Defendant.
  ________________________________/

                                           ORDER

         THIS CAUSE has come before the Court upon Plaintiff’s First Motion for Sanctions

  [DE 41] and Amended Motion for Sanctions [DE 42]. Plaintiff seeks sanctions for costs

  incurred in connection with Defendant’s failure to appear at a Rule 30(b)(6) deposition on

  January 23, 2019. That deposition was the subject of several motions and orders

  regarding the scope and scheduling of the deposition [DE 26, 30, 37, and 40].

         In its Motion for Protective Order [DE 37] filed on January 22, 2019, Defendant

  sought an additional seven days to gather information requested by Plaintiff and recently

  ordered by the Court to be produced. The parties could not agree to the relief requested.

  The Court ultimately granted the relief, albeit after the scheduled time for the deposition,

  and directed the parties to confer and reach an agreement for a rescheduled deposition

  [DE 40]. In addition, as conceded by Plaintiff, Plaintiff was notified at 7:58 a.m. on the

  morning of the deposition that the witness was ill and would not be appearing for her

  deposition [DE 41, p. 9]. Nevertheless, Plaintiff insisted on going forward with the
Case 0:18-cv-61984-FAM Document 61 Entered on FLSD Docket 02/25/2019 Page 2 of 2



  deposition and now seeks sanctions in the form of costs incurred for Defendant’s failure

  to appear at the deposition.

         Rule 37(d)(3), Federal Rules of Civil Procedure, authorizes the Court to award

  sanctions for a party’s failure to attend its own deposition, “unless the failure was

  substantially justified or other circumstances make an award of expenses unjust.” The

  Court finds that the parties’ inability to cooperate on the scheduling of the deposition and

  the witness’ sudden onset illness make an award of expenses unjust. Accordingly, it is

  hereby

         ORDERED AND ADJUDGED that Plaintiff’s Motion for Sanctions [DE 41] and

  Plaintiff’s Amended Motion for Sanctions [DE 42] are DENIED.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 25th day of

  January 2019.




  Copies furnished counsel via CM/ECF




                                               2
